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                            SO U THERN D ISTRICT OF FLOR ID A

                              CaseNo.16-Cr-20549-Sco1a(s)(s)(s)

   UN ITED STA TES O F AM ER ICA

  V S.

  PH ILIP ESFORM ES,


                      Defendant.
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                                 O R D ER O F FO RFEIT UR E

         W HEREAS,on April5,2019,thepetitjury empaneled in thiscasereturneditsVerdict
   (ECFNo.12451inwhich itfoundtheDefendant,PHILIP ESFORM ES,guilty ofthefollowing
  violationschargedintheThirdSupersedingIndictment(ECFNo.869)returnedinthiscase:Count
   6(18U.S.C.j371-ConspiracytoPayc eceiveofHealthcareKickbacks),Counts8-9(42U.S.C.
   j 1320a-7b(b)(1)(A)-ReceiptofHealthcare Kickbacks),Counts 10-13 (42 U.S.C.j 1320a-
   7b(b)(2)(A) -paymentofHealthcare Kickbacks),Count 16 (18 U.S.C.j 1956(h) -M oney
   Laundering Conspiracy), Counts 18-21, Counts 25-28, and Count 30 (18 U.S.C.
   1956(a)(1)(B)(i)-M oney Laundering),Count31 (18 U.S.C.j 371 -Conspiracy to Commit
   FederalProgram Bribery),Count32(18U.S.C.j371-Conspiracyto CommitFederalProgram
   Bribery and HonestServicesW ire Fraud),and Count34 (18 U.S.C.j 1503 -Obstnzction of
   Justice).ECF No.1245.


         W H ER EA S on April 9, 2019, the Court conducted a bifurcated forfeiture proceeding

   ptlrsuanttoFed.R.Crim.P.32.2(b)(l)(A)immediatelyfollowingitsannotmcementoftheVerdict
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   afterwhich the same petitjury returned a Forfeiture Verdict(ECF No.1263)finding thata1l
   interestheldby,onbehalfof,orforthebenefitoftheDefendantinseven(7)businessentitiesand
   theirassdswereinvolved in am oney laundering offense ofwhich itfoundtheDefendantguilty.

          W HEREAS theCourttindsthattheso-called liEsformesNetwork,''which w ascom prised

   ofSkilled Ntlrsing Facilities(SNFS)and Assisted LivingFacilities(ALFS)and theirrespective
   operating orm anagem entcompanies,facilitated theDefendant'sm oney launderingactivity in that

   it(theEsformesNetwork)madetheDefendant'smoneylaunderingactivitylessdifficultormore
   orlessfree from obstruction and hindrance.Therefore,pursuantto 18 U .S.
                                                                         C.j982(a)(1)andin
   accordance w ith United States v.
                                   &.Seher,the SN FS and A LFS and their respective operating or

   m anagem entcom paniesthatform ed theEsform esN etwork constitute property thatw asttinvolved

   in''the Defendant's m oney laundering offenses.562 F.3d 1344, 1368(11thCir.2009).

          W HEREAS during the Bifurcated ForfeitureProceeding,the Governm entpresented one

   witness,M r.M ikePetron,a certified publicaccountant,who testified and showedw ith sum mary

   exhibitsthatthe Defendantobtained $38,700,795 (US)from the EsfonnesNetwork from 2010
   through 2016.

          AND W HEREAS theGovernmentsoughtentry ofaforfeituremoneyjudgmentagainst
   theDefendantfor$38,700,795(US),asasum ofmoney equalin valuetothepropertytraceable
   to the property involved in the D efendant'sm oney laundering offenses.

          NO W TH EREFO R E,IT IS H ER EBY O R DER ED ,A DIUD G ED AN D D ECR EED

   thataforfeituremoneyjudgmentfor$38,700,795(US)isenteredagainsttheDefendantaspartof
   hissentencepursuantto 18U.S.C.j982(a)(1)andFed.R.Crim.P.32.2(b)(1);and
          IT ISFURTHER ORDERED thpttheUnitedStatesDistrictCourtshallretainjurisdiction
   in this m atterforthe purpose ofenforcing thisO rderofForfeiture;and
                                                  2
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         IT IS FURTHER ORDERED thatthe United States m ay,atany tim e,file a motion

   pursuanttoFed.R.Crim.P.32.2($ to amend thisOrderofForfeitureso to asforfeitproperty
   having avaluenotto exceedtheaggregate sum oftheoutstandingbalanceoftheforfeituremoney

  judgmentimposedhereinin satisfactionoftheforfeituremoneyjudgmentinwholeorinpart;and
         DONEAND ORDERED atM iam i,Floridaon this 2/                       W4vk
                                                              -   day of          r2019.



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                                                     ,J




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                                                RO BERT N .SCOLA,Jr.
                                                UN ITED STA TES D ISTRICT JU D GE
